
Mieczyslaw Rowinski, Appellant, 
againstArthur Komacki, Respondent.



Appeal from a judgment of the District Court of Nassau County, First District, (Eric Bjorneby, J.), entered January 25, 2013. The judgment, after a nonjury trial, dismissed the action.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover the sum of $5,000 for defendant's allegedly improper installation of wall and floor tiles in plaintiff's bathroom. After a nonjury trial, the District Court dismissed the action.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (UDCA 1807; see UDCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125 [2000]). The determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126). Upon a review of the record, we find no basis to disturb the District Court's determination as it provided the parties with substantial justice according to the rules and principles of substantive law (see UDCA 1804, 1807). 
Accordingly, the judgment is affirmed.
Marano, P.J., Tolbert and Brands, JJ., concur.
Decision Date: June 15, 2016










